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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 JOEL VANGHELUWE, et al.,                    Case No.: 2:18-cv-10542-LJM-EAS

              Plaintiffs,                    Hon. Laurie J. Michelson

       v.                                    Mag. Elizabeth A. Stafford

 GOTNEWS, LLC, et. al.

              Defendants.


                     DEFENDANT GOTNEWS, LLC’s
               REPLY IN SUPPORT OF ANTI-SLAPP MOTION
                     (Evaluated under Fed. R. Civ. P. 56)



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        “My car when I turn 16.” Joel Vangheluwe is suing GotNews for believing him.

 Nothing in the opposition should lead the Court to deny the motion. The Plaintiff,

 Joel Vangheluwe, is wrong when he claims that the Anti-SLAPP statute is procedural.

 It has procedural components, none of which apply in federal court, and none of which

 are invoked here. The only substantive rights invoked are an immunity from suit

 (protected by interlocutory appeal) and shifting attorneys’ fees. Plaintiff invokes a D.C.

 District Court case, interpreting the D.C. Anti-SLAPP statute, to try to avoid the

 impact of Anti-SLAPP immunity. However, this is a case invoking the California Anti-

 SLAPP law. The Ninth Circuit has recognized for decades that the law’s substantive

 portions apply in federal court; the Sixth Circuit Court of Appeals acknowledged this.

 See Black v. Dixie Consumer Prods. LLC, 835 F.3d 579, 584 (6th Cir. 2016) (majority and

 dissent recognize the California statute creates a substantive right).

        Procedurally, this is a motion for summary judgment — as is made clear in the

 motion. There is no impediment to a grant of summary judgment at this point — as

 the factual record is sufficient to resolve the case as a matter of law. 1 And, in cases

 where First Amendment rights are at stake, it is not just appropriate, but encouraged,

 that courts should expeditiously dispense with the claims. See, e.g., Kahl v. Bureau of Nat’l

 Affairs, Inc., 856 F.3d 106, 109 (D.C. Cir. 2017) (“To preserve First Amendment

    1
        Although Plaintiff argues there has been inadequate time for discovery
 (Opposition at 9 n. 2), he never made a proper request under Fed. R. Civ. P. 56(d).
 “Rule 56(d) recognizes that there are instances when a party lacks the necessary facts to
 properly contest a summary judgment motion. However, the party must at least specify
 what information it is missing.” CareToLive v. FDA, 631 F.3d 336, 345 (6th Cir. 2011)
 (also observing the requirement of an affidavit as to what is needed).
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 freedoms and give reporters, commentators, bloggers, and tweeters (among others) the

 breathing room they need to pursue the truth, the Supreme Court has directed courts

 to expeditiously weed out unmeritorious defamation suits.”).

           As a matter of fact Defendant cannot dispute that it made an error — it

 misidentified Mr. Vangheluwe as the driver of the Charlottesville Challenger.

 However, Michigan (and California) law both give breathing room to the press and
 allow it some margin of error without liability. That margin is wider when, as in this

 case, the error was made reasonably, made relying on public records, and was

 expeditiously corrected once the error came to Defendant’s attention.2 Therefore, the

 Court should grant the anti-SLAPP motion.

 1.0       Public Records Link Joel Vangheluwe to the Vehicle

           To try to avoid the dispositive fair report privilege, Plaintiff argues that there is

 no public record stating he was a murder, but Defendant does not make that argument.

 The Ohio and Michigan public records make clear that the vehicle that killed Heather


       2
        Plaintiff makes certain evidentiary objections to everything but Defendant’s
 Exhibits 2 & 12. See Opposition, Dkt. No. 58, at 9 n.3. As to the foundation and
 hearsay objections, Plaintiff fails to assert that such material could not “be presented in
 a form that would be admissible in evidence.” Ganesh v. United States, 658 F. App’x 217,
 220 (6th Cir. 2016) quoting Fed. R. Civ. P. 56(c)(2). Thus, the objections fail. See Faryen
 v. United Machining Inc., No. 14-14664, 2016 U.S. Dist. LEXIS 127368, at *13 n.2 (E.D.
 Mich. Aug. 16, 2016). As to the relevancy objection, Plaintiff fails to set forth how
 Defendant’s citations to those exhibits in its motion do not support the propositions
 for which they are cited. For example, Plaintiff objects to Exhibit 13, which is the
 excerpted transcript of the video that accompanied Exhibit 12, to which there is no
 objection. Moreover, where a plaintiff “merely dispute[s] the relevance” of proffered
 evidence, such “fails to create a genuine issue of material fact to survive summary
 judgment.” Richland Bookmart, Inc. v. Knox Cty., Tenn., 555 F.3d 512, 524 (6th Cir. 2009).



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 Heyer was the same vehicle that had been owned by Plaintiff’s father. See Dkt. Nos.

 40-5 & 50-7; Dkt. No. 58 at 17 (Plaintiff conceding it was the vehicle). The Ohio

 records identify the VIN of the car. Dkt. No. 50-5. And, the State of Michigan still

 reports Jerome Vangheluwe as the owner. Dkt. No. 50-7. Defendant’s article was

 based on the information from those records,3 and Plaintiff does not show it was

 unreasonable for Defendant to rely on them. Plaintiff purports to present expert
 testimony that Michigan records would not reflect an out-of-state sale. Dkt. No. 58-4.

 Though that may be a defect in Michigan’s record-keeping practices, Plaintiff fails to

 cite to any statute, regulation, or other matter wherein the public would be aware that

 the records were unreliable. Though it may be unusual for a Michigan titled vehicle to

 have an Ohio registration, Plaintiff and Ms. Barrett ignore Ohio Rev. Code Ann.

 § 4503.182(c) that explicitly permits it.

        Neither was it unreasonable to use that information, in conjunction with

 Plaintiff publicly calling the vehicle “my car” to assume he was the operator that day.

 Dkt. No. 12-1 at 4. Although relying on the 4Chan user came with the “risk [to] the

 publisher” if the public record turns out to not say what the user said it did, the

 Michigan documents did show Jerome Vangheluwe was the owner of record. Rouch v.

 Enquirer & News, 427 Mich. 157, 220, 398 N.W.2d 245, 273 (1986). Such was a “fair

 and true report of matters of public record.” Mich. Comp. Law, § 600.2911(3).

 Defendant did not publish the information with actual malice; the corroborating

    3
       Although Plaintiff contests this assertion, the article itself refers to “license plate
 searches.” Dkt. No. 12-1 at 2.



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 record was set forth on 4Chan, even though it ultimately was proven incorrect. Thus,

 the fair report privilege protects the reporting.4

 2.0       The California Anti-SLAPP Statute is Applicable in Federal Court

           Plaintiff’s pronouncement that “the Ninth Circuit has found the California Anti-

 SLAPP Statute to be procedural, not substantive” is profoundly false. Dkt. No. 58

 at 12. Plaintiff relies upon Judge Kozinski’s concurrence in Makaeff v. Trump University,
 LLC, 715 F.3d 254 (9th Cir. 2013) for the proposition that the California Anti-SLAPP

 statute should not apply in Federal Court. Strikingly absent is any discussion of the

 en banc decision of the Ninth Circuit rejecting Judge Kozinski’s invitation to overturn

 its decades of precedent. See Makaeff v. Trump University, LLC, 736 F.3d 1180 (9th Cir.

 2013). In fact, a four-judge concurrence deemed Judge Kozinski’s position as “based

 on a misreading of Supreme Court precedent,” and reaffirming that “anti-SLAPP

 statutes like California’s confer substantive rights under Erie.” Id. at 1181 & 1184. The

 Sixth Circuit approved of the treatment of California’s (and other states’) anti-SLAPP

 statutes as conferring substantive immunity, and this Court should follow that

 guidance. Black v. Dixie Consumer Prods. LLC, 835 F.3d 579, 584 (6th Cir. 2016).

           Defendant invoked dépeçage to the extent Michigan common law governs the

 issue of liability, and California law governs substantive immunity. Plaintiff attempts

 to circumvent the application of Sharif v. Sharif, No. 10-10223, 2010 U.S. Dist. LEXIS

       4
         Plaintiff also disputes that the Wire Service Defense applies. Although
 Defendant is not physically “local,” the basis for the defense was not geography. Howe
 v. Detroit Free Press, 219 Mich. App. 150 (1996). Rather, its purpose is to protect smaller
 outlets when they republish news from a large outlet. Plaintiff does not dispute that
 GotNews is a smaller outlet or that 4Chan is substantially larger. How GotNews
 received and republished the information from 4Chan is functionally equivalent to the
 traditional wire service.
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 86853, at *11-12 (E.D. Mich. Aug. 24, 2010) in which it was deemed that the

 defendant’s state’s anti-SLAPP law applies by focusing on the author of the article.

 Dkt. No. 58 at 16-17. This is improperly shifting the goalposts. Plaintiff sued

 GotNews, the publisher, not the author. GotNews is a California citizen (Dkt. No. 12

 at 5 ¶ 15), and cannot be deprived of its substantive immunity from this type of suit.

        Plaintiff attempts to argue that the publication was not on an issue of public
 concern. Dkt. No. 58 at 17. The Sixth Circuit has recognized that “within the scope

 of legitimate public concern are matters of the kind customarily regarded as ‘news.’ …

 Authorized publicity includes publications concerning homicide and other crimes,

 arrests, police raids … and many other similar matters of genuine, even if more or less

 deplorable, popular appeal.” Miller v. Davis, 653 F. App’x 448, 459 (6th Cir. 2016)

 quoting Restatement (Second) of Torts, § 652D cmt. g. The matter, the news, was on

 a homicide and terrorism event. Just as arrests and police raids, i.e. government

 information that can identify a criminal, may involve innocent parties, so, too, is

 reporting on public records about the vehicle involved in such a crime.               Joel

 Vangheluwe may not have previously been of public concern, but the records about

 his car, the one that killed Heather Heyer, certainly were.

 3.0    There were No False Statements of Fact

        In his Amended Complaint, Plaintiff does not identify the precise language he

 claims to have been false. See, generally, Dkt. No. 12. Now he does, but in doing so, he

 takes what was published out of context. Dkt. No. 58 at 18–21. Under Michigan law,

 “‘truth’ means only substantial truth, not literal truth.” Bothuell v. Grace, No. 16-11009,

 2017 U.S. Dist. LEXIS 32194, at *11-12 (E.D. Mich. Feb. 16, 2017).                 It was
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 substantially true that the public records (termed a “license plate search,” as the VIN

 was found from the license plate and Jerome Vangheluwe was found from the VIN,

 which led to the discovery of Joel’s social media) identified Joel Vangheluwe as the

 likely operator of the vehicle, who publicly declared it was to be his car.5 We now

 know that was not the case, and Defendant promptly retracted it when new

 information was revealed, without being asked. But the information was substantially
 accurate when published. As a result, neither the defamation nor the false light claim

 has merit.6

 4.0       Defendant Did Not Intentionally Inflict Emotional Distress

           Plaintiff’s opposition focuses solely on the second prong of the four-part test in

 Melson v. Botas, 497 Mich. 1037, 1037-38 (2015). See Dkt. No. 58 at 30. As discussed

 above, it cannot be deemed “reckless” to rely on the public records and Plaintiff’s

 social media postings to draw the reasonable, though ultimately inaccurate, conclusion

 that he was the likely motorist. Plaintiff does not address the first prong, under which

 Defendant cannot have engaged in extreme or outrageous conduct by circulating


       5
         Plaintiff also takes issue with being characterized as a “druggie,” even though he
 specifically invoked the hashtag “#stoned” in social media. Dkt. No. 12-1 at 5. Thus,
 “druggie” was an apt interpretation. See State v. Brooks, 1 N.C. App. 590, 591, 162 S.E.2d
 45, 46 (1968) (“However, in Webster’s Third New International Dictionary (1968) the
 word ‘stoned’ is the past tense of ‘stone,’ and one of the meanings of the verb ‘stone’
 is ‘to make numb or insensible (as from drinks or narcotics).’”)
      6
         Further, Plaintiff ignores the actual malice requirement for the false light claim.
 See Detroit Free Press, Inc. v. Oakland Cty. Sheriff, 164 Mich. App. 656, 666 (1987).
 Defendant’s reliance on the Ohio and Michigan records, along with Plaintiff’s own
 social media, may have resulted in error, but there is no basis to suggest it was with
 knowledge of falsity or with reckless disregard for the truth. Plaintiff’s suggestion that
 Defendant “obviously just made up the story to fit its political agenda” is belied by the
 documentary sources and the fact of immediate, unprompted retraction. Dkt. No. 58
 at 29.
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 public information. See Meyer v. Hubbell, 117 Mich. App. 699, 708 (1982). Nor does he

 address the causation prong—since GotNews did not publish Plaintiff’s contact

 information, the threats he received, causing his alleged distress, were not proximately

 caused by Defendant. Thus, Plaintiff cannot prevail on his emotional distress claim.

 5.0   Conclusion

       It is unfortunate that Joel Vangheluwe was misidentified based on records the
 State of Michigan failed to update. Once new information came to light, Defendant

 rectified that with a retraction. No one thinks Joel killed Heather Heyer. The only

 person perpetuating the matter, to punish Defendant for its exercise of its free speech,

 is Plaintiff. He should have dismissed the case once he saw the records; instead, he

 has continued pursuing a futile claim at his, Defendant’s, and the Court’s expense. The

 Court should grant Defendant’s anti-SLAPP motion and dismiss the remaining claims

 with prejudice.


       Dated: July 31, 2018               Respectfully Submitted,
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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 31, 2018, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I further certify that a true and

 correct copy of the foregoing document being served via transmission of Notices of

 Electronic Filing generated by CM/ECF.

                                               Respectfully Submitted,


                                               Employee,
                                               Randazza Legal Group, PLLC




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